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                          UNITED STATES DISTRICT COURT                      USAO# 2018R04154
                            WESTERN DISTRICT OF TEXAS                     2U!9j- 10
                                  AUSTIN DIVISION
                                                                                         Pt   3:29

SEALED
 IN THE MATTER OF THE SEARCH OF                   §
 MULTIPLE SOURCES AND LOCATIONS                   §
 RELATED TO THE iNVESTIGATION OF                  §
                                                          1:18-mj-168
 MARK CONDITT AND THE AUSTIN                      §
                                                          1:18-mj-169
 BOMBINGS OF 2018                                 §
                                                          1:18-mj-170
                                                  §
                                                          1:18-mj-171
                                                  §
                                                          1:18-mj-188
                                                  §
                                                          1:18-mj-189
                                                  §
                                                          1:18-mj-191
                                                  §
                                                          1:18-mj-208
                                                  §
                                                          1:18-mj-218




    MOTION FOR LIMITED UNSEALING FOR MULTIPLE SEARCH WARRANT
                           AFFIDAVITS

       Comes now the United States of America, by-and through the United States Attorney for

the Western District of Texas, and respectfully requests the Court to Order a limited unsealing of

multiple search warrant affidavits in the cause numbers above, all of which were part of the same

investigation. The Government requests that this Motion be filed under seal initially and then

UNSEALED and a redacted copy of the Affidavits (as attached to this Motion) be UNSEALED,

with the remaining items filed in each of the cause numbers above remaining SEALED.

       The Court previously granted Government's motion to maintain these search warrants as

sealed, Ordering the Government to: 1) notify the Court within 14 days of closing the investigation

in this matter and 2) make a request regarding continued sealing or disclosure of the search warrant

materials.
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                                              FACTS

       On March 20, 2018, this Court issued an Arrest Warrant for Mark Conditt in Al 8-M-207-

ML for a violation of Title 26 United States Code § 5861. Law enforcement confirmed that Mark

Conditt was deceased since approximately 1:59 AM on March 21, 2018. On April 9, 2018, this

Court issued an Order dismissing the Complaint and providing for a limited unsealing of the

Criminal Complaint Affidavit.

       During the investigation into Conditt and the Austin bombings, the Government requested

multiple search warrants. Analysis of the available data seized pursuant to those search warrants

is now complete. The Government also analyzed voluminous records acquired through other

investigatory techniques and conducted multiple interviews. In the course of its investigation, the

Government found no evidence of communications or links between Conditt and any international

terror groups or domestic hate groups. The Government likewise found no evidence that any

recognized ideology had motivated Conditt. The Government has no basis to believe that any

additional charges will be sought in connection with the bombings, and the Government closed

the criminal matter on January 10, 2019.

       Pursuant to the Court's Order, the Government is notifying the Court through this Motion

that the investigation is closed and is proposing certain redactions to the Affidavits in these cause

numbers.

        The Government's motion and the Court's Order in A18-M-207-ML identified several

interests that justified limited redaction of the complaint documents, including the possible chilling

effect on information provided by informants and witnesses to law enforcement; the potential

hindrance to ongoing law enforcement investigations if certain details were revealed; the potential

hindrance to law enforcement if certain investigative techniques were made public; innocent third
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parties' rights to privacy; and disclosure restrictions related to certain protected records and to

personal identifying information, as imposed by law and the rules of the Court.

         As noted above, this investigation is now closed. Accordingly, there is little possibility

that unsealing the search warrant affidavits will hinder any ongoing investigation related to these

events. However, the other interests favoring non-disclosure remain as compelling now as they

were during the investigation. The Government's requested redactions are designed to protect

those interests.

         Therefore, while the Government acknowledges the public's qualified right of access to

judicial records, see United States v. Sealed Search Warrants, 868 F.3d 385, 390-96 (5th Cir.

2017), the Government believes that those interests are outweighed in this case by the following

interests favoring nondisclosure, as summarized above: the possible chilling effect on information

provided by informants and witnesses to law enforcement; the potential hindrance to law

enforcement if certain investigative techniques or explosive device-making techniques are made

public; innocent third parties' rights to privacy; and disclosure restrictions related to certain

protected records and to personal identifying information, as imposed by law and the rules of this

Court.

         For the above reasons, the Government requests that the original documents filed in these

cause numbers remain sealed until further order of the Court, and that the attached versions of the

Affidavits be unsealed and made part of the public record.


                                                  JOHN F. BASH
                                                  United States Attorney



                                                  Michael C.
                                                               nited States Attorney
